EXHIBIT 2
                 UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF LOUISIANA



UNITED STATES ex rel. JOSHUA
NEMZOFF,                              CIVIL ACTION No. 2:19-cv-11680 c/w
                                      19-11682
                 Plaintiffs,
                                      SECTION: “P” (5)
           v.
                                      JUDGE DARREL J. PAPILLION

LOUISIANA CHILDREN’S MEDICAL
CENTER, INC., ET AL.,                 MAG. JUDGE MICHAEL NORTH

                 Defendants.




    DECLARATION OF ABID R. QURESHI IN SUPPORT OF DEFENDANTS’
  CONSOLIDATED MOTION TO DISMISS SECOND AMENDED COMPLAINT’S
                        “LINCCA” CLAIMS
         I, Abid R. Qureshi, submit this Declaration and have personal knowledge of the following

facts:

         1.     I am with the law firm of Latham & Watkins LLP, which represents Defendants

Ochsner Clinic Foundation d/b/a Ochsner Health System, CHRISTUS Health Central Louisiana,

MidAmerica Division, Inc.,1 Scott Posecai, Maurice Lagarde III, Stephen Wright, Warner Thomas,

Bobby Brannon, Patrick Quinlan, Michael Hulefeld, Chris Karam, Scott Merryman, Kim Kelsch

and Peter November in the above-captioned action.

         2.     This Declaration, Index, and the attached Exhibits relate to the arguments advanced

by all Defendants in Defendants’ Memorandum of Law in Support of Defendants’ Consolidated

Motion to Dismiss Second Amended Complaint’s “LINCCA” Claims (“Defendants’ Consolidated

LINCCA Brief”).

         3.     The following Exhibits include news media, federal administrative filings,

documents published by the Centers for Medicare & Medicaid Services (“CMS”) and the

Government Accountability Office (“GAO”), and other documents referenced in Defendants’

Consolidated LINCCA Brief.

                a.     Attached as Exhibit A is a true and correct copy of the United States

         Government’s Statement of Interest, Vaughn v. Harris Cnty. Hosp. Dist., No. 17-cv-02749

         (S.D. Tex. May 14, 2021).

                b.     Attached as Exhibit B is a true and correct copy of the Brief of Appellant

         Texas Health and Human Services Commission (“HHSC”), Texas Health & Human Servs.




1
 MidAmerica Division, Inc. is incorrectly named in the caption of this action as HCA MidAmerica
Division.


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Comm’n v. Ctrs. for Medicare & Medicaid Servs., No. A-17-51 (U.S. Dep’t of Health and

Human Serv. Dep’t Appeals Bd. June 1, 2017).

       c.     Attached as Exhibit C is a true and correct copy of a May 1, 2008 Letter

from Chris Traylor, then Associate Commissioner for Texas Medicaid and CHIP, to James

Frizzera, then Director of CMS’s Financial Management Group, regarding Deferrals Nos.

TX/2007/3/E/11/MAP,      TX/2007/3/E/12/MAP,       and   TX/2007/4/E/15/MAP.         This

document was Exhibit 9 to the Brief of Appellant Texas HHSC, Texas Health & Human

Servs. Comm’n v. Ctrs. for Medicare & Medicaid Servs., No. A-17-51 (U.S. Dep’t of

Health and Human Serv. Dep’t Appeals Bd. June 1, 2017).

       d.     Attached as Exhibit D is a true and correct copy of a November 2, 2010

Letter from Cindy Mann, then Director for the Center for Medicaid, CHIP, and Survey &

Certification, to Don Gregory, then Director of the Bureau of Health Services Financing at

Louisiana’s Department of Health and Hospitals (“DHH”), regarding Louisiana State Plan

Amendment 09-55. This document was Exhibit 21 to the Brief of Intervenors, Texas

Health & Human Servs. Comm’n v. Ctrs. for Medicare & Medicaid Servs., No. A-17-51

(U.S. Dep’t of Health and Human Serv. Dep’t Appeals Bd. June 19, 2017).

       e.     Attached as Exhibit E is a true and correct copy of an October 29, 2010

Letter from Bill Brooks, then Associate Regional Administrator of CMS’s Division of

Medicaid and Children’s Health, to Don Gregory, then State Medicaid Director of

Louisiana DHH, regarding Louisiana State Plan Amendment 09-56. This document was

Exhibit 20 to the Brief of Intervenors, Texas Health & Human Servs. Comm’n v. Ctrs. for

Medicare & Medicaid Servs., No. A-17-51 (U.S. Dep’t of Health and Human Serv. Dep’t

Appeals Bd. June 19, 2017).




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       f.      Attached as Exhibit F is a true and correct copy of a November 2, 2010

Letter from Cindy Mann, then Director for the Center for Medicaid, CHIP, and Survey &

Certification, to Don Gregory, then Director of the Bureau of Health Services Financing at

Louisiana DHH, regarding Louisiana State Plan Amendment 10-26. This document was

Exhibit 22 to the Brief of Intervenors, Texas Health & Human Servs. Comm’n v. Ctrs. for

Medicare & Medicaid Servs., No. A-17-51 (U.S. Dep’t of Health and Human Serv. Dep’t

Appeals Bd. June 19, 2017).

       g.      Attached as Exhibit G is a true and correct copy of a news article by Marsha

Shuler, entitled Official Touts Initiative for Hospital Funding, published in The Advocate

on February 2, 2011.

       h.      Attached as Exhibit H is a true and correct copy of a news article by Clancy

DuBos, entitled Heitmeier Plan Scores Big for Local Hospitals, published in The Advocate

on March 14, 2011.

       i.      Attached as Exhibit I is a true and correct copy of a news article entitled

Governor Jindal Announces $83 Million in Payments to Hospitals, published in the States

News Service on March 29, 2011.

       j.      Attached as Exhibit J is a true and correct copy of a news article by Jan

Moller, entitled Private Hospitals Get Extra Money; Jindal Touts Medicaid Innovation,

published in the Times-Picayune on March 30, 2011.

       k.      Attached as Exhibit K is a true and correct copy of a news article by

Richard Rainey and Alan Powell III, entitled State ‘Blazing New Trails’ in Health Costs;

Program Helps Hospitals Plug Losses, published in the Times-Picayune on April 20, 2011.




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       l.       Attached as Exhibit L is a true and correct copy of a news article by Marsha

Shuler, entitled More Medicaid Woes on Horizon For La., published in The Advocate on

May 13, 2014.

       m.       Attached as Exhibit M is a true and correct copy of a news article by

Marsha Shuler, entitled La. Hospitals Watch Texas Funding Issue, published in The

Advocate on October 18, 2014.

       n.       Attached as Exhibit N is a true and correct copy of a May 9, 2014 Letter

from Cindy Mann, then Director of the Center for Medicaid and State Operations, to State

Medicaid Directors, SMDL No. 14-004, regarding Accountability #2: Financing and

Donations. This document was Exhibit 1 to the Brief of Appellant Texas HHSC, Texas

Health & Human Servs. Comm’n v. Ctrs. for Medicare & Medicaid Servs., No. A-17-51

(U.S. Dep’t of Health and Human Serv. Dep’t Appeals Bd. June 1, 2017).

       o.       Attached as Exhibit O is a true and correct copy of U.S. Gov't

Accountability Off., GAO-14-627, Medicaid Financing: States’ Increased Reliance on

Funds from Health Care Providers and Local Governments Warrants Improved CMS Data

Collection (2014).

       p.       Attached as Exhibit P is a true and correct copy of the Brief of Intervenors,

Texas Health & Human Servs. Comm’n v. Ctrs. for Medicare & Medicaid Servs., No. A-

17-51 (U.S. Dept. of Health and Human Serv. Dep’t Appeals Bd. June 19, 2017).

       q.       Attached as Exhibit Q is a true and correct copy of an August 20, 2010

Letter from Don Gregory, then Medicaid Director for the Louisiana DHH to Bill Brooks,

then Associate Regional Administrator for CMS, regarding Amendments to Louisiana

State Plan for Medical Assistance LA 09-55 and LA 09-56. This document was Exhibit




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       19 to the Brief of Intervenors, Texas Health & Human Servs. Comm’n v. Ctrs. for Medicare

       & Medicaid Servs., No. A-17-51 (U.S. Dept. of Health and Human Serv. Dep’t Appeals

       Bd. June 19, 2017).

              r.      Attached as Exhibit R is a true and correct copy of Louisiana DHH’s June

       17, 2014 Responses to Informal Requests for Additional Information. This document was

       Exhibit 28 to the Brief of Intervenors, Texas Health & Human Servs. Comm’n v. Ctrs. for

       Medicare & Medicaid Servs., No. A-17-51 (U.S. Dept. of Health and Human Serv. Dep’t

       Appeals Bd. June 19, 2017).

              s.      Attached as Exhibit S is a true and correct copy of a November 30, 2016

       Letter from Kristin Fan, then Director of CMS to Jen Steele, then Director of the Bureau

       of Health Services Financing in the Louisiana DHH. This document was Exhibit 29 to the

       Brief of Intervenors, Texas Health & Human Servs. Comm’n v. Ctrs. for Medicare &

       Medicaid Servs., No. A-17-51 (U.S. Dept. of Health and Human Serv. Dep’t Appeals Bd.

       June 19, 2017).

              t.      Attached as Exhibit T is a true and correct copy of the Response Brief of

       Appellee, Texas Health & Human Servs. Comm’n v. Ctrs. for Medicare & Medicaid Servs.,

       No. A-17-51 (U.S. Dept. of Health and Human Serv. Dep’t Appeals Bd. August 25, 2017).



       I declare under penalty of perjury that the foregoing information is true and correct.

Executed this 20th day of December, 2023.

                                                                    /s/ Abid R. Qureshi
                                                                     Abid R. Qureshi




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                                INDEX OF PUBLIC DISCLOSURE EXHIBITS

           Date of
Exhibit    Public         Document                                       Key Disclosures
          Disclosure

                                                NEWS MEDIA

                                           “Under the program, non-profit coalitions of private hospitals agree to take
                                           over certain health-care services previously paid for totally with state or
                                           local public service district hospital tax dollars. The arrangements free up
                                           state and local health-care dollars that then can be used to bring in several
                                           times the amount in additional federal dollars through Medicaid . . . .”
                                           p. 1 (emphasis added).

                                           “The participating hospitals individually have signed Low Income and Needy
                                           Care Collaboration Agreements. Louisiana Medicaid is required to make
                        Marsha Shuler,     quarterly payments to the hospitals that have agreements with the public
                        Official Touts     entities.” Id. (emphasis added).
                         Initiative for
  G       02/02/2011
                       Hospital Funding,   “The payments come through what is known as the ‘upper payment limit.’
                        The Advocate,      Called UPL, the program reimburses hospitals for care for which they would
                         Feb. 2, 2011      otherwise have been ineligible. UPL is the difference between what the state
                                           Medicaid program reimburses and the higher paying Medicare rate.” Id.
                                           (emphasis added).

                                           “The LHA and the Jindal administration are promoting the program as a
                                           way for hospitals to offset more than $200 million in Medicaid cuts during the
                                           last two years.” Id. (emphasis added).

                                           “With federal approval of the plan late last year, Greenstein said $27 million
                                           went out to participating hospitals . . . .” Id. (emphasis added).
           Date of
Exhibit    Public          Document                                           Key Disclosures
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                                              “The first tier taps into the federal UPL program by allowing private hospitals
                                              to form joint nonprofits that provide health care services to low-income
                                              citizens - services otherwise provided by the state. Many private hospitals
                                              already provide care for the poor, but those services either are uncompensated
                                              or undercompensated by the feds. Heitmeier’s plan allows them to tap the
                                              federal UPL program and become fully compensated. Louisiana became the
                                              second state (after Texas) to tap into the UPL program under a bill Heitmeier
                                              introduced and passed two years ago.” p. 2 (emphasis added).
                         Clancy DuBos,
                                              “Both phases of Heitmeier’s plan require complex approvals at the state and
                         Heitmeier Plan
                                              federal levels, but potentially the state can realize more than $700 million a year
                       Scores Big for Local
  H       03/14/2011                          in savings, he says. ‘Louisiana is eligible for $250 million a year in the general
                         Hospitals, The
                                              UPL program, but the state has not realized that potential because it did not
                            Advocate,
                                              have matching dollars available,’ Heitmeier says. ‘Now we’re doing it by
                          Mar. 14, 2011
                                              allowing the private nonprofits to perform services previously provided by
                                              the state, which frees up state general fund dollars for the match. Both the
                                              state and the hospitals benefit from this.’” Id. (emphasis added).

                                              “Potentially, the general UPL, which is $250 million this year, could provide
                                              Louisiana with $700 million a year using an additional $450 million in federal
                                              Disproportionate Share funds, which is another pool of reimbursements. And
                                              next year our share of the general UPL could be $350 million.” pp. 2-3
                                              (emphasis added).

                        Governor Jindal       “LINCCA agreements between private hospitals and public state and local
   I      03/29/2011     Announces $83        hospitals and hospital districts allow private hospitals to take on services
                       Million in Payments    for low-income and needy patients with federal funds, which frees up local
                          to Hospitals,       and state funding. The money can be used to maximize available federal




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                       States News Service,   matching funds through the Upper Payment Limit (UPL) program in
                          Mar. 29, 2011       Medicaid or to help fund the Medicaid program.” p. 1 (emphasis added).

                                              “Under the LINCCA program, a public entity, such as a local hospital
                                              district, an LSU hospital or even DHH, partners with a private entity to
                                              take over the costs of providing services to low income and needy patients.
                                              Those collaborations can include paying for physician services at an LSU
                                              Hospital emergency room that cares for low income and needy patients or
                                              behavioral health services provided through the DHH Office of Behavioral
                                              Health. This saves dollars for the public entity while also ensuring
                                              continued and improved access to care for the uninsured and Medicaid
                                              patients.” Id. (emphasis added).

                                            “Under the Low-Income and Needy Care Collaboration Agreement
                                            program, private hospitals agree to cover the costs of providing care to low-
                                            income and needy populations that are now served by public entities such
                           Jan Moller,      as local public hospital districts or the Department of Health and Hospitals.
                        Private Hospitals   The financing arrangement saves money that the public institutions would
                        Get Extra Money;    otherwise have to spend, and makes the hospitals eligible to receive federal
  J       03/30/2011      Jindal Touts      Medicaid matching funds that exceed the cost of the care they cover.” p. 1
                       Medicaid Innovation, (emphasis added).
                        Times-Picayune,     “Louisiana is the second state, after Texas, to get a waiver from the federal
                         Mar. 30, 2011      Centers for Medicare and Medicaid Services to operate such
                                              collaborations.” Id. (emphasis added).

                                              “While the first round of payments flowed mainly to hospitals in the New
                                              Orleans area, including East Jefferson General Hospital and West Jefferson




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                                              Medical Center, the latest payments are being spread around the state, with
                                              about $4.5 million going to hospitals in the region.” Id. (emphasis added).

                                              “The first of these programs, called the Low-Income and Needy Care
                                              Collaboration Agreement, asks private companies to pay the costs of
                                              services for low-income patients that public hospitals or the state once
                       Richard Rainey and     covered. The money saved by public hospitals can then be used by the state
                         Alan Powell III,     to leverage for more financing from the federal government, which is
                        State ‘Blazing New    funneled back to the private and public hospitals.” p. 1 (emphasis added).
                         Trails’ in Health
                                              “Ultimately, it allows health care providers to receive larger payments that
  K       04/20/2011     Costs; Program
                                              more accurately reflect the true cost to provide care, Heitmeier said.” Id.
                       Helps Hospitals Plug
                                              (emphasis added).
                              Losses,
                         Times-Picayune,      “The Parish Council has hired United Professionals Company, an affiliate of
                          April 20, 2011      the Sisung Group, to create and manage the private Upper Payment Limit
                                              program at both Jefferson public hospitals. Basing their work on similar
                                              programs in Texas, United Professionals and the parish have partnered
                                              with the Texas law firm Gjerset & Lorenz.” p. 2 (emphasis added).

                                              “Now, the federal Centers for Medicare and Medicaid Services said such
                                              deals will be scrutinized to determine if they are improper and not
                         Marsha Shuler,       donations by bona fide providers.” p. 1 (emphasis added).
                       More Medicaid Woes
  L       05/13/2014   on Horizon For La., “In a letter to state Medicaid directors, Cindy Mann, director of the federal
                         The Advocate,     CMS, wrote that a ‘hold harmless’ provision is not allowed in the
                          May 13, 2014     arrangements.”   Id. (emphasis added).

                                              “Kliebert said Louisiana’s low income needy program was approved by the
                                              current CMS administration and has operated with federal approval for


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                                            several years. Also, in 2012 CMS conducted a review of the program and did
                                            not indicate any concerns . . . Most of the state agreements have been with
                                            private hospitals – more than two dozen located around the state when the
                                            program began in 2011.” p. 2 (emphasis added).

                                            “Many hospitals have used the LINCCA arrangements and the new CMS
                                            stances certainly could create some issues.” Id. (emphasis added).

                                            “CMS outlined what states shouldn’t be doing and threatened to demand the
                                            repayment of dollars where warranted. In a nutshell, Louisiana did many of the
                                            things warned against by CMS, possibly foreshadowing another pricey
                                            unpinning of the state’s financial structures for health care programs.” p. 1.

                                            “‘It frees up some funds being spent (by public entities) so they could be
                                            transferred to Medicaid and used for match,’ Gregory said. ‘CMS would
                                            rather the states increase what Medicaid would have paid for the services.’”
                                            p. 2 (emphasis added).

                                            “‘They may have taken on a contract from LSU for $1 million. All of a
                                            sudden LSU transfers $1 million to Medicaid and Medicaid draws down 62
                                            percent in federal funds on it,’ Gregory said. ‘Medicaid gets a 15 percent
                                            handling fee.’” Id. (emphasis added).

                                            “The [Mann] letter talks about cooperative endeavor agreements and LINCCA
                                            which are specific to Louisiana.” Id. (emphasis added).


                         Marsha Shuler,     “The federal government postponed Medicaid payments to 57 Texas hospitals
  M       10/18/2014   La. Hospitals Watch over questions about a financial scheme similar to one that Louisiana
                       Texas Funding Issue, adopted.” p. 1 (emphasis added).



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                         The Advocate,      “Under the federal microscope is an arrangement Texas uses, which is similar
                         Oct. 18, 2014      to Louisiana’s $400 million Low Income and Needy Care Collaboration
                                            Agreements.” Id. (emphasis added).

                                            “Louisiana’s LINCCA program has been used to get extra funding to public
                                            LSU hospitals . . . as well as other community facilities across the state . . .
                                            Under the deals, a private company agrees to provide the health care
                                            services that had been provided by a public entity. The arrangement frees
                                            the government dollars that had been spent by the public entity. The public
                                            funds are directed to Medicaid coffers to increase the state’s match, which
                                            in turn brings more federal funds. The private company then receives
                                            supplemental payments from Medicaid.” pp. 1-2 (emphasis added).

                                            “Bill Brooks, the associate regional administrator for CMS, wrote Sept. 30:
                                            ‘CMS would like to explore further our understanding of the financing
                                            mechanism being utilized’ . . . ‘It appears that the intergovernmental transfer
                                            (local match) may be derived from funds that the government entity
                                            previously would have spent on providing the services that are now being
                                            provided/funded by the private entity and or direct payments made to the
                                            governmental entity from private entities’ . . . That would constitute the
                                            unallowable use of provider-related donations to draw down federal
                                            funds.” Id. (emphasis added).

                                             FEDERAL REPORTS

                                            “It provides guidance to states concerning Federal statute and regulations
                        Letter from Cindy
                                            related to the allowable and unallowable use of provider-related donations
  N       05/09/2014          Mann,
                                            and also addresses the use of certain types of public-private arrangements;
                       CMS State Medicaid
                                            such as Low-Income and Needy Care Collaboration Agreements
                             Director,
                                            (LINCCAs), Collaborative Endeavor Agreements (CEAs), and Public-Private


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                       SMDL No. 14-004   Partnerships. These arrangements generally involve Medicaid supplemental
                        (May 9, 2014)    payments or special add-ons to the base payment rate that are contingent upon
                                         or otherwise related to agreements between government and private
                                         entities under which the private entities assume obligations to provide
                                         donated services or other transfers of value as directed in the
                                         arrangements.” p. 1 (emphasis added).

                                         “As explained in more detail below, these arrangements raise issues relating to
                                         private donations and could potentially result in a hold harmless
                                         arrangement under which the donations are returned in full or in part to the
                                         provider or provider class. Donations that occur under such arrangements are
                                         not considered bona fide, and, as explained further below, the Centers for
                                         Medicare & Medicaid Services (CMS) will not approve SPAs that include
                                         non-bona fide donations as a portion, or all, of the non-Federal share of the
                                         Medicaid payments.” p. 2 (emphasis added).

                                         “A public-private partnership arrangement is a relationship between a private
                                         entity and a government entity in which the private entity agrees, in some form,
                                         to provide a service or some other in-kind transfer of value to further the
                                         purposes of the government entity. In the context of the Medicaid program,
                                         some public-private arrangements also include provisions that the government
                                         entity will make an intergovernmental transfer (IGT) to the Medicaid
                                         agency, and the private providers that have signed, or otherwise entered into,
                                         an agreement would then become eligible for a Medicaid supplemental payment
                                         or special add-on to the base payment rate that may be funded by the IGT from
                                         the government entity under the same agreement. In some cases, the IGT is
                                         derived from funds that the government entity previously would have
                                         spent on providing the services that are now being provided by the private
                                         entity. These funds would not be available if not for the public-private
                                         partnership agreements. As described in further detail below, this type of


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                                               arrangement would not be considered a bona fide donation under Medicaid
                                               requirements.” p. 3 (emphasis added).

                                               “The percentage of the nonfederal share of Medicaid supplemental
                                               payments financed with funds from health care providers and local
                                               governments varied significantly in state fiscal year 2012 among states that
                            U.S. Gov't         reported using funds from these sources to finance supplemental payments.
                       Accountability Off.,    Several states relied on health care providers and local governments for
                          GAO-14-627,          the entire nonfederal share of their supplemental payments . . . .
                       Medicaid Financing:
                         States’ Increased  •      For non-DSH supplemental payments, the percentage of these funds
                        Reliance on Funds          ranged from 10.3 percent in Louisiana to 100 percent in seven states—
  O       July 2014
                        from Health Care           Alabama, Idaho, Illinois, Nebraska, Nevada, North Carolina, and
                       Providers and Local         Wyoming. The amount of funds supplied by health care providers and
                           Governments             local governments in these seven states totaled $1.9 billion.” p. 24
                        Warrants Improved          (emphasis added).
                       CMS Data Collection
                              (2014)        “We and others have raised concerns in the past about financing
                                            arrangements involving Medicaid supplemental payments, which states
                                            often make through large, lump-sum payments to a relatively small number of
                                            providers.” pp. 24-25 (emphasis added).

                                 FEDERAL ADMINISTRATIVE PROCEEDING

                       Brief of Intervenors,   “Facing issues similar to Texas related to low Medicaid reimbursement and
                         Texas Health &        increasing uninsured indigent population, Louisiana submitted its own SPAs
  P       6/19/2017      Human Services        to operate Medicaid supplemental payment programs in which the State of
                          Commission v.        Louisiana ‘joined with private safety-net hospitals to design a collaborative
                       Centers for Medicare    program substantially similar to the one approved by CMS for Texas.’



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                       & Medicaid Services, During the SPA review process, Louisiana provided CMS clear disclosure of
                       Docket No. A-17-51 the collaborative: ‘The Private Hospitals will enter into their own
                         (June 19, 2017)    arrangements (contractual or otherwise) with the individuals or entities
                                            who provide care directly to low income and needy patients, including
                                            individuals or entities that had previously provided low income and needy
                                            care services to the governmental entity.’” p. 12 (emphasis added).

                                            “To further illustrate how the hospitals would expand their charity care,
                                            Louisiana provided examples of ‘the types of low income and needy care
                                            services the Private Hospitals may provide, that were previously provided
                                            or paid for by a governmental entity’ and clarified that the provision of these
                                            example services ‘will result in the alleviation of the expense of the public
                                            funds the governmental entity previously expended on this care.’ Consistent
                                            with the law and all prior action, CMS approved the Louisiana SPAs shortly
                                            thereafter on October 29, 2010 and November 2, 2010.” pp. 12-13 (emphasis
                                            added).

                                            “On three occasions after issuing SMDL #14-004, CMS approved
                                            arrangements in Louisiana that are similar to the Texas public/private
                                            collaborative arrangements. On December 23, 2014—six months after
                                            releasing SMDL #14-004—CMS approved a Louisiana SPA wherein Louisiana
                                            private hospitals agree to expand their charity services by taking over all
                                            services previously paid for and/or furnished by the State. In return, the State
                                            agreed to pay each hospital 100% of their Medicaid Disproportionate Share
                                            Hospital (Medicaid DSH) cap. In November 2016, CMS approved a second
                                            SPA, reaffirming Louisiana’s 2014 SPA, whereby private hospitals would
                                            increase their ‘Medicaid and uninsured services by providing services that
                                            were previously delivered and terminated or reduced by a state owned or




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                                               operated facility.’ CMS issued the November 2016 SPA approval two months
                                               after disallowing funds in Texas.” pp. 15-16 (emphasis added).

                                               “Each of these State Plan Amendments (‘SPA’) authorizes Medicaid
                                               supplemental payments to hospitals that have entered into a Low Income and
                                               Needy Care Collaboration Agreement with a state or local governmental
                       Brief of Intervenors,   entity, including inpatient Medicaid supplemental payments (LA 09-55), and
                       Ex. 19, (Letter from    outpatient Medicaid supplemental payments (LA 09-56).” p. 1 (emphasis
                           Don Gregory,        added).
                       Medicaid Director, to
                            Bill Brooks        “In light of the growing gap between the cost of care and reimbursement, the
                        Associate Regional     State of Louisiana joined with private safety-net hospitals to design a
                           Administrator,      collaborative program substantially similar to the one approved by CMS
                       CMS, Amendments         for Texas, in Texas SPAs TX 05-01 and TX 05-11, to more fully fund the
                        to Louisiana State     Medicaid program under current law and ensure the availability of quality
                         Plan for Medical      healthcare services for the low income and needy population.” pp. 1-2
  Q       6/19/2017                            (emphasis added).
                       Assistance LA 09-55
                           and LA 09-56
                         (Aug. 20, 2010)),     “Generally, a Low Income and Needy Care Collaboration Agreement is the
                          Texas Health &       agreement between a governmental entity (State or local governmental
                          Human Services       entity) and a group of non-state and non-public hospitals (‘Private
                           Commission v.       Hospitals’) to develop a plan for the Private Hospitals to reduce or alleviate
                       Centers for Medicare    the need for the governmental entity to provide care to the low income and
                       & Medicaid Services,    needy patients that do not qualify for Medicaid benefits, thereby allowing the
                       Docket No. A-17-51      governmental entity to utilize its public funds to increase support to the
                          (June 19, 2017)      Medicaid program. The Private Hospitals will enter into their own
                                               arrangements (contractual or otherwise) with the individuals or entities
                                               who provide care directly to low income and needy patients, including
                                               individuals or entities that had previously provided low income and needy
                                               care services to the governmental entity. The Private Hospitals may consider


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                                  the amount of supplemental payments they expect to receive in deciding
                                  whether, and to what degree, they will provide charity services to the low
                                  income and needy patients consistent with the CoPs. As part of this
                                  collaboration with the Private Hospitals, the governmental entity may
                                  contribute resources to the provision of services to low income and needy
                                  individuals by, for example, contributing facility space for the treatment of
                                  these patients, operational management services or medical malpractice
                                  coverage to ensure that patients receive adequate quality care.” p. 2 (emphasis
                                  added).

                                  “Examples of the types of low income and needy care services the Private
                                  Hospitals may provide, that were previously provided or paid for by a
                                  governmental entity, include but are not limited to . . . primary and specialty
                                  physician services . . . .” pp. 2-3 (emphasis added).

                                  “The provision of the low income and needy services by the Private Hospitals
                                  directly to patients will result in the alleviation of the expense of the public
                                  funds the governmental entity previously expended on this care.” p. 3
                                  (emphasis added).

                                  “Hospital Service Districts will be the entities that IGT funds. Currently, the
                                  Department is working with West Jefferson regarding potential IGT’s, but
                                  there are ten other Hospital Service Districts that could agree to voluntarily IGT
                                  funds.” p. 5 (emphasis added).




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                                               “As pointed out in the State Medicaid Director’s Letter #14-004, and in
                                               accordance with federal regulations at 42 CFR 433.52, a provider related
                                               donation is a donation or other voluntary payment made directly, or indirectly,
                                               to a state or unit of local government by, or on behalf of, a health care provider,
                                               an entity related to such a health care provider, or an entity providing goods or
                                               services to the state for administration of the state’s Medicaid plan. The letter
                       Brief of Intervenors,   also properly pointed out the definition of a bona fide donation as established
                           Ex. 28, (LDH        at 42 CFR 433.54. The key element of such a donation is that it must not have
                           Responses to        a direct or indirect relationship to Medicaid payments made to a health care
                       Informal Request for    provider, any related entity providing health care items or services or other
                             Additional        providers furnishing the same class of items or services as the provider or entity.
                            Information        A final key element is that any such payments must not establish a ‘hold
                         (June 17, 2014)),     harmless’ arrangement as defined by federal regulations.” p. 4 (emphasis
                          Texas Health &       added).
  R       06/19/2017
                         Human Services
                           Commission v.       “According to Louisiana’s currently approved Medicaid State Plan, a hospital
                       Centers for Medicare    may qualify for receipt of Disproportionate Share Hospital (DSH) payments
                       & Medicaid Services,    by satisfying certain criteria specified therein. One such qualifying criteria
                       Docket No. A-17-51      includes, among other criteria, that a hospital, for dates of service on or after
                          (June 19, 2017)      January 21, 2010, be participating in the Low Income and Needy Care
                                               Collaboration Agreement (LINCCA). In order to participate in this program,
                                               the hospital must make certain representations and warranties. These
                                               representation and warranties are specifically designed to prevent and
                                               avoid the situations described in the State Medicaid Director’s letter. For
                                               example, the participating hospital must guarantee that they have not made, and
                                               will not make, any payments to the Governmental Entity with which they are
                                               collaborating in order to fund Medicaid supplemental payments. The hospital
                                               must also guarantee that it has not entered into any fee arrangement under which
                                               the hospital’s fee is a percentage of the hospital’s payments funded by the



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                                  Governmental Entity. Finally, the hospital warrants that its agreement with the
                                  Governmental Entity complies with any applicable provider related donation
                                  regulations.” p. 4 (emphasis added).

                                  “In addition to the representations and warranties, via a separate certification,
                                  the hospital provider must certify that it has not entered any agreement which
                                  would condition either the amount of any public funds transferred by the
                                  Government Entity or the amount of Medicaid supplemental payments the
                                  hospital receives on the amount of low income and needy care the hospital has
                                  provided or will provide. The purpose of this certification, and its effect, is to
                                  expressly have the hospital and Government Entity understand that a ‘hold
                                  harmless’ must not exist. Thus, it is crystal clear that the hospital is not
                                  guaranteed to receive any funding directly or indirectly correlated to the
                                  services it may provide.” pp. 4-5 (emphasis added).

                                  “As part of this certification, the provider also certifies that it has not made, nor
                                  will it make, any cash or in-kind transfers to the Governmental Entity other than
                                  transfers and transactions that are unrelated to the Supplemental Payment
                                  Program, transfers involving fair market value transactions, or transactions that
                                  represent independent, bona fide transactions negotiated at arms-length and in
                                  the ordinary course of business. The effect of this certification is to ensure that
                                  a provider related donation has not occurred and that all entities remain in
                                  compliance with the federal regulations mentioned in the above referenced
                                  State Medicaid Directors letter. The Government Entity has entered into a
                                  similar certification which further guarantees compliance with federal donation
                                  rules and ensures that all non-federal share funds are purely state dollars eligible
                                  for federal match.” p. 5 (emphasis added).

                                  “Thus, at the very outset, DHH does not believe that the LINCCA
                                  arrangement mentioned in the currently approved State Plan involves a


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                                               provider related donation. The participating hospital has voluntarily decided
                                               to take steps to ensure that low income and needy patients have access to, and
                                               receive, high quality hospital services. The amount of any Medicaid
                                               supplemental payment is not tied directly or indirectly to a specific amount or
                                               level of financial commitment. The Government Entity is not, in any way,
                                               forced to transfer any level or amount of purely public funds to Louisiana DHH.
                                               Thus, it is clear that federal ‘hold harmless’ provisions are not triggered in
                                               that the hospital does not have any direct or indirect guarantee that it will receive
                                               any level of Medicaid supplemental payment.” Id. (emphasis added).

                                               “After approval of this State Plan Amendment and after the program was in
                                               effect, CMS conducted an audit of Louisiana’s LINCCA program. To the best
                                               of DHH’s knowledge, CMS did not find any violations of federal regulations in
                                               the administration of this program.” Id. (emphasis added).

                       Brief of Intervenors,
                       Ex. 29, (Letter from
                        Kristin Fan, CMS
                            Director, to
                         Jen Steele, LDH,      “[A] hospital may qualify for this category [of DSH payments] by 1. Being a
                        (Nov. 30, 2016)),      private acute general hospital that . . . increases its provision of inpatient
  S       06/19/2017      Texas Health &       Medicaid and uninsured services by providing services that were previously
                         Human Services        delivered and terminated or reduced by a state owned and operated
                           Commission v.       facility . . . .” p. 5 (emphasis added).
                       Centers for Medicare
                       & Medicaid Services,
                       Docket No. A-17-51,
                          (June 19, 2017)




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                        Respondent’s Brief   “CMS Approval of State Plan Amendments in Nevada and Louisiana Does
                           in Support of     Not Relieve Texas of Its Responsibility to Demonstrate Compliance” p. 35
                       Disallowance, Texas   (emphasis added).
                         Health & Human
                       Services Commission   “CMS has not barred public-private collaborations and does not automatically
  T       08/25/2017                         assume that such relationship include donations . . . As noted in SMDL #14-
                          v. Centers for
                            Medicare &       04, ‘nothing in this letter is intended to limit the ability of governments and
                        Medicaid Services,   businesses to establish these normal and important business relationships.’ . . .
                       Docket No. A-17-51    CMS [has] not made findings that the other states’ programs are in violation of
                         (Aug. 25, 2017)     §1903(w). . . .” Id.




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